Case 3:11-cv-00842-MMH-MCR Document 31 Filed 08/14/12 Page 1 of 1 PageID 145




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

NORMAN HOEWISCHER, Individually,

       Plaintiff,                                   CASE NO. 3:11-cv-842-MMH-MCR

v.

LOUIS L. HUNTLEY ENTERPRISES, INC., et al

      Defendant.
____________________________________/

                                 STIPULATION OF DISMISSAL

       The parties, by and through undersigned counsel, hereby stipulate to the dismissal of the

instant action with prejudice.

                                     Respectfully submitted,

 Attorneys for Defendant                         Attorney for Plaintiff:

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